Case 1:16-cv-07176-ILG-PK Document 52-9 Filed 11/02/18 Page 1 of 12 PageID #: 870




                            EXHIBIT 9
Case 1:16-cv-07176-ILG-PK Document 52-9 Filed 11/02/18 Page 2 of 12 PageID #: 871


                                                                                     San Francisco & New York

                                                                                   J. Noah Hagey, Esq.
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                                           March 15, 2017

 VIA EMAIL AND FIRST CLASS U.S. MAIL

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        Re:      Campbell v. Drink Daily Greens, LLC, 16-cv-7176-ILG-PK (SDNY)

 Dear Counsel:

      We have been retained as litigation counsel for Defendant Drink Daily Greens, LLC
 (“DDG”) in the above-captioned matter.

         We now have had the opportunity to review the complaint you jointly signed. As
 detailed below, the complaint contains false allegations of fact made without basis or
 investigation and appears to be a mirror image of complaints brought by your firms that were
 dismissed by other federal courts. For the reasons stated below, we ask that you withdraw the
 Complaint. If you do not do so, we will seek legal redress from the Court, including pursuant to
 Rule 11.

         By way of background, DDG is a small woman-run business based in Austin, Texas that
 sells organic juices. Its founder, Shauna Martin, started the company after surviving breast
 cancer when her son was one year old. As part of her recovery from ten surgeries and extensive
 chemotherapy, Shauna began drinking green juice for its healing power, and her business
 followed. DDG only uses organic, fair-trade, non-GMO ingredients. The company recycles all
 the organic wastes from its juicing process, often at a worm farm where it is transformed back
 into organic soils and fertilizers. Its juicing facility only uses cleaning agents and manufacturing
 processes that are sustainable and do not pollute the environment. And a portion of all its sales
 goes to fighting breast cancer.




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Case 1:16-cv-07176-ILG-PK Document 52-9 Filed 11/02/18 Page 3 of 12 PageID #: 872
 March 15, 2017
 Page 2


          Your “client” Gerard Campbell is an inveterate litigant who has agreed to be the plaintiff
 in at least three cut-and-paste lawsuits at the behest of your firm(s). Each of those actions
 identically alleges that Campbell was fooled into buying juices that were treated at high pressure
 because they were “heated” and “pasteurized.” These allegations were made without any
 investigation into the process DDG actually uses – which does not heat the juice. Moreover, as
 you know, the FDA itself has determined that high-pressure treatment is not pasteurization, and
 the process does not materially affect the nutritional content of juice. Both the label and website
 Campbell claims to have read explain that DDG’s juices are made by high-pressure processing.
 Accordingly, even if Campbell was a bona fide customer (and not a captive plaintiff), there is no
 way he could have been misled about the way DDG’s juices are made. Nor could any supposed
 “class” of consumers have been misled. He and everyone else who buys DDG products receive
 exactly what they bargain for – a healthy and delicious product. Accordingly, the complaint
 should be dismissed without further waste of judicial or party resources.

        A.      Your Allegations that DDG Juices Are “Heated” Are False

          Your complaint alleges many times that DDG’s juices are “heated.” (Compl. ¶ 37.) This
 is false. You made these false allegations without performing any investigation of the process
 that DDG actually uses in violation of Rule 11. In actuality, DDG’s juice never even reaches
 ambient temperature in the production process, much less a temperature that would pasteurize
 the juice, as you have also alleged.

         So that you cannot later claim to have been unaware of the true facts, the following
 describes DDG’s unique production process: First, to ensure that its juice is never heated, DDG
 goes well beyond other companies and refrigerates its entire facility to a temperature between
 32-41º. The juice is cold-pressed, bottled, capped and sealed at this temperature. Second, after
 the juice is cold-pressed, it is placed in a non-insulated steel vessel. The vessel is then filled with
 water chilled to 4-5° C, just above freezing temperature. While in this cold bath, the juice is
 subjected to hydraulic high-pressure processing for two minutes (not 3-10 as you claim in ¶ 25 of
 your Complaint). Because the metal is non-insulated, the process does not raise the temperature
 of the juice by 18° C as your Complaint asserts, and once the pressure treatment is done, the
 water is drained and the juice immediately returns to a temperature of 4-5° C. As a result of the
 process used by DDG, the juice never reaches a temperature above 19-20° C. This temperature
 is well below room temperature most times of the year in Austin, Texas, and well below the
 temperatures in Texas and Mexico where the greens used in the juices are grown.

        B.      You Already Know that High-Pressure Treatment Does Not “Pasteurize” or
                Destroy the Nutrients in DDG’s Products

        In addition to making reckless and inaccurate allegations without investigation, your
 Complaint attempts to conceal material information that separately undermines your entire case.
 Your law firms (and presumably your client) have known for a long time that high-pressure
 treatment does not “pasteurize” juice or destroy its nutrient content, as alleged in the complaint
 you signed. This is true as a matter of science, law and FDA regulations. The subject complaint
 was drafted in such a way as to try to hide these facts from the Court. This is a separate and
 independent reason why your Complaint is not only dismissible but subject to Rule 11 sanctions.
Case 1:16-cv-07176-ILG-PK Document 52-9 Filed 11/02/18 Page 4 of 12 PageID #: 873
 March 15, 2017
 Page 3


                1.      One District Court Dismissed Your Claims with Prejudice Because It
                        Found You Were Aware of the Science that Refutes Them

         In 2014, your firms made identical claims against Hain Celestial Group contending that
 its high-pressure processing was somehow deceptive and improper. Those claims were
 dismissed with prejudice by the Honorable Vincent Chhabria in the Northern District of
 California pursuant to Hain’s Rule 12(b)(6) motion. A courtesy copy of that decision in Alamilla
 v. Hain Celestial Group, No. 13-cv-05595-VC (N.D. Cal. 2014), is attached as Exhibit 1. Your
 client should be advised of that decision if he is not already aware of it.

         In Hain, the Court not only dismissed your case at the pleading stage, but also denied
 leave to amend. It found that your complaint had cited articles showing that your firms were
 aware of the science that foreclosed the claims and allegations in suit. (Id at 1.) The Court
 explained that your “complaint quotes and incorporates by reference an article that concludes
 that pressurization has ‘little or no effects on nutritional and sensory quality aspects of foods.’
 Eamonn Hogan et al., High Pressure Processing of Foods: An Overview, in Emerging
 Technologies for Food Processing 3, 27 (Da-Wen Sun ed., 2005).” (Id. at 2.) Judge Chhabria
 further found that the Hogan article and another article cited in your pleading eliminated any
 argument that high-pressure treatment materially alters the nutrition content of fresh juice:
                [B]oth articles repeatedly make the point that pressurization has
                less impact on nutritional value than pasteurization. See, e.g., id. at
                19 (noting that pressurization "maintains the quality of fresh foods,
                with few direct effects on flavor and little effect on nutritional
                quality"); id. at 26 ("A clear advantage of pressure treatment is . . .
                the stability of small molecules, such as nutrients."); Margaret F.
                Patterson et al., Introduction to High Pressure Processing of Foods,
                in Emerging Technologies for Food Processing 1, 9 (Christopher J.
                Doona et al. eds., 2007) (explaining that foods treated with
                pressurization "retain more of their original fresh taste, texture, and
                nutritional content such that these products are often superior in
                quality compared to their thermal processing counterparts").
 (Id. at 2.) The opinion further noted that “plaintiffs did not include this conclusion (or the other
 quotations from the articles cited in this order) in their complaint.” (Id.)

         As a result of the science you have now known about for over two years, Judge Chhabria
 held that your claims were untenable at their core and could not be cured by any amendment. He
 explained: “The articles the plaintiffs cite thus contradict the allegation upon which their entire
 complaint hinges — namely, that pressure treatment deprives juice of nutritional value to a
 similar degree as pasteurization.” (Id.)

         In an effort to avoid dismissal here, you have attempted to mislead Judge Glasser.
 Instead of selectively misquoting the articles, as you did before Judge Chhabria, you have now
 omitted those articles from your boilerplate pleading altogether, without citing any scientific
 proof for your assertion that high-pressure treatment somehow materially alters the nutritional
Case 1:16-cv-07176-ILG-PK Document 52-9 Filed 11/02/18 Page 5 of 12 PageID #: 874
 March 15, 2017
 Page 4


 content of DDG’s juices. Not only are such claims meritless, they are knowingly misleading. It
 has long been known that pressure treatment does not materially alter the nutritional value of the
 juice. E.g., Ankit Patras, Nigel Brunton, Sara Da Pieve, Francis Butler, and Gerard Downey,
 Effect Of Thermal And High Pressure Processing On Antioxidant Activity And Instrumental
 Colour Of Tomato And Carrot Purées, Innovative Food Science and Emerging Technologies
 (2008); G. Donsi; O. Ferrari, and M. Matted, High Pressure Sterilization of Orange Juice, Italian
 Food and Beverage Technology (1996); Caroline Morris, Aaron L. Brody* and Louise Wicker,
 Non-Thermal Food Processing/PreservationTechnologies: A Review with Packaging
 Implications, Packag. Technol. Sci. (2007).

                   2.       High-Pressure Treatment Is Not Pasteurization

         Your current complaint also attempts to mislead the Court by referring to DDG’s juice as
 “pasteurized.” (E.g., Compl. ¶¶ 33-34.) But your firms are specifically aware that such
 allegation is untrue.

         For context, the FDA requires that raw fruit or vegetable juice must be subject to a
 methodology that creates a 5 log reduction of pathogens. 21 C.F.R. § 120.24(a). Pasteurization
 is one allowed method. So is high-pressure treatment.

        As explained in the FDA Guidance for Industry: The Juice HACCP Regulation -
 Questions & Answers (Aug. 31, 2001), high-pressure treatment is considered an alternative to
 pasteurization, not a form of pasteurization as you allege. For example, Question 37 of the FDA
 Guidance reads:
                   37. How can I achieve a 5-log reduction without pasteurizing
                   the product?
                   You can achieve a 5-log reduction by using control measures that
                   have been shown to be effective in reducing the number of
                   microorganisms. You can use one control measure that has been
                   shown to reduce the pertinent microorganism by at least 5-log
                   (e.g., high pressure) or a combination of control measures that
                   have a cumulative effect of a 5-log reduction.
 http://www.fda.gov/Food/GuidanceRegulation/GuidanceDocumentsRegulatoryInformation/ucm
 072981.htm#E (emphasis added).

         Pasteurization involves exposing a substance to a high level of heat and then cooling it to
 destroy bacteria. Id. at Q36.1 Under FDA training standards for juice, pasteurization is
 performed by exposing a juice to a temperature of at least 160º C, depending on the type of juice.
 http://www.accessdata.fda.gov/ORAU/Pasteurization/PAS_04_000.htm.

 1
  Dictionary definitions are similar to the FDA’s. See, e.g., https://www.merriam-
 webster.com/dictionary/pasteurization (defining “pasteurization” as “partial sterilization of a substance and
 especially a liquid (as milk) at a temperature and for a period of exposure that destroys objectionable organisms”);
 http://www.dictionary.com/browse/pasteurization?s=t (defining “pasteurize” as “to expose (a food, as milk, cheese,
 yogurt, beer, or wine) to an elevated temperature for a period of time sufficient to destroy certain microorganisms”).
Case 1:16-cv-07176-ILG-PK Document 52-9 Filed 11/02/18 Page 6 of 12 PageID #: 875
 March 15, 2017
 Page 5


          Your firms already know that high pressure treatment does not create temperatures
 exceeding 160° C. Nor does your complaint even allege that to be the case as to DDG’s high-
 pressure treatment. Rather, the complaint admits a temperature increase of only 18º C (which is,
 itself, false), and cites no scientific evidence to suggest that such a process would be a method of
 performing “pasteurization.”

          C.       Campbell Was Not Misled about How DDG’s Products Are Made

         Campbell’s claims are separately untenable because his own pleading shows he was not
 misled by DDG’s packaging and/or advertising. By citing the company’s website and other
 materials, the complaint admits that DDG has gone to great lengths on both its label and website
 to explain that its juices are made through high-pressure processing, and not heat pasteurization.

       First, on the labels of the products, DDG’s juices state in large, boldface letters: “High
 Pressure Processed.” Thus, if he read the label, as he alleges he did, there is no possibility that
 Campbell could have been unaware of how the juice was prepared.

         Second, the complaint alleges that before Campbell bought his juice, he read and relied
 on the www.drinkdailygreens.com website. (Compl. ¶¶ 67-68.) The website has an FAQ section
 which explains the way DDG’s juice is processed. It states: “Our juicer cuts whole organic
 produce into pulp, then extracts every bit of juice from it by applying high pressure — without
 heat or spinning — to extract maximum nutrition.”

        Other parts of the website reiterate that DDG uses high-pressure processing. For
 example, the “Farm to Juice” page explains “each bottle is placed in our high pressure processor
 (HPP) to make our juice safe while maintaining maximum nutrition,” and the page detailing the
 individual products explains: “Never heated; High Pressure Processed (HPP).”

        If Campbell did actually care about how the juice was processed, and did actually read
 the website as he said he did, he would have to consciously avoid the multiple descriptions of
 DDG’s high-pressure treatment to remain ignorant of how the juice is processed. Under these
 circumstances, Campbell could not possibly have been misled about how the juice he supposedly
 purchased was processed.

        Finally, Campbell’s claim that he thought the term “unheated” somehow meant that high-
 pressure processing did not in any way alter the temperature of the juice could not have been
 material to him, much less uniformly important to a supposed “class” of consumers. As a matter
 of physics, any energy applied in the pressing process or pressure will nominally increase the
 temperature of the juice. Such increase does not materially alter the products,2 and as explained

 2
  In addition to the articles cited in this letter, the articles you are attempting to conceal from Judge Glaser refute
 your assertions that high-pressure processing somehow constitutes heating or materially changes the juice. For
 example, the Hogan article at page 3 states that high-pressure processing is a “non-thermal” process. It further states
 high-pressure processing is “an alternative technology to heat treatments” (id.) and that it has gained popularity
 because “[a]lthough heating food effectively reduces levels of microorganisms such as bacteria, such processing can
 alter the natural taste and flavour of food and destroy vitamins.” (Id. at 4.) It further explains that high-pressure
Case 1:16-cv-07176-ILG-PK Document 52-9 Filed 11/02/18 Page 7 of 12 PageID #: 876
 March 15, 2017
 Page 6


 above, DDG has taken great pains to ensure that its juices never even reach ambient temperature,
 much less the temperatures at which the fruit is actually grown.

                                                   *        *        *

          Campbell’s claims are materially false and the subject complaint is subject to dismissal
 for all of the reasons set forth above. Further, pursuant to DDG’s standard company policy, it is
 hereby enclosing a check for $100 representing a full refund of any and all purchases for which
 Campbell was somehow dissatisfied – regardless of his mistaken claims. Meanwhile, the
 complaint should be dismissed with prejudice.

        Please let us know how you wish to proceed by no later than close of business, March
 17, 2017.

         In the meantime, please preserve all evidence relevant to this dispute, including all
 advertisements, notices and/or solicitations by your office(s) seeking plaintiffs, all
 communications with Campbell, all receipts and documentation related to Campbell’s purported
 claims, and all documentation of your pre-suit investigation of DDG’s process.

          DDG reserves all rights, claims, remedies and defenses.

                                                  Very truly yours,



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 processing can “provide safe, fresher-tasting, nutritive foods without the use of heat or chemical preservatives” (id.)
 and that “[u]nlike heat treatment, HP treatment does not reduce the quality of foods.” (Id. at 4, 19.)
Case 1:16-cv-07176-ILG-PK Document 52-9 Filed 11/02/18 Page 8 of 12 PageID #: 877




                            EXHIBIT 1
                                  Case 1:16-cv-07176-ILG-PK  Document
                                            Case 3:13-cv-05595-VC     52-9 Filed
                                                                  Document       11/02/18
                                                                           74 Filed       PagePage
                                                                                     07/03/14  9 of 12 PageID
                                                                                                    1 of 3    #: 878




                                    1                                  UNITED STATES DISTRICT COURT

                                    2                                 NORTHERN DISTRICT OF CALIFORNIA

                                    3
                                         SAMUEL F. ALAMILLA, et al.,
                                    4                                                         Case No. 13-cv-05595-VC
                                                        Plaintiffs,
                                    5
                                                 v.                                           ORDER OF DISMISSAL WITH
                                    6                                                         PREJUDICE
                                         HAIN CELESTIAL GROUP, INC., et al.,
                                    7                                                         Re: Dkt. Nos. 35, 37
                                                        Defendants.
                                    8

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                                  10           Plaintiffs Samuel Alamilla and Colleen King bring this putative class action against

                                  11    Defendants Hain Celestial Group, Inc., BluePrint Wholesale LLC, and ZSBPW LLC, alleging the

                                  12    defendants' juice products were misleadingly labeled and advertised. The plaintiffs identify
Northern District of California
 United States District Court




                                  13    several allegedly misleading representations on the products' labels and on the defendants'

                                  14    website: that the juices are "100% Raw," "Raw and Organic," and/or "Unpasteurized"; that

                                  15    "cooking juice" (i.e., pasteurization) kills vitamins and enzymes; that "juice should never be

                                  16    cooked"; and that the defendants' juices are not cooked because they are treated with pressure,

                                  17    rather than heat.

                                  18           The plaintiffs concede these representations are not literally false. (Opp'n 20). They

                                  19    acknowledge, for example, that "cooking" juice indeed deprives it of nutritional value and that the

                                  20    defendants do not pasteurize or otherwise "cook" their juice products. But the plaintiffs contend

                                  21    that just like pasteurization, the pressure treatment used by the defendants deprives juice of

                                  22    nutritional value, and that because the defendants do not disclose this, their representations about

                                  23    not cooking juice are misleading. Specifically, the complaint asserts that the effects of the

                                  24    pressure treatment "are similar to those of cooking and pasteurization, namely the destruction of

                                  25    vitamins, nutrients, live enzymes, nutritional value, and health benefits." (Compl. ¶ 4). The

                                  26    complaint also alleges that juice treated with pressure is "in fact, equivalent to . . . cooked juice"

                                  27    with respect to nutritional and health benefits (or lack thereof).

                                  28           On their own, these allegations state a plausible claim that the defendants' representations
                                  Case 1:16-cv-07176-ILG-PK  Document
                                             Case 3:13-cv-05595-VC    52-9 Filed
                                                                   Document 74 11/02/18     Page Page
                                                                                 Filed 07/03/14  10 of 2
                                                                                                       12ofPageID
                                                                                                            3     #: 879




                                    1    could lead a reasonable consumer to conclude incorrectly that pressure treatment does not deprive

                                    2    juice of its nutritional value in the same way that pasteurization does. But the complaint

                                    3    incorporates by reference two articles that contradict this claim. In particular, the complaint quotes

                                    4    and incorporates by reference an article that concludes that pressurization has "little or no effects

                                    5    on nutritional and sensory quality aspects of foods." Eamonn Hogan et al., High Pressure

                                    6    Processing of Foods: An Overview, in Emerging Technologies for Food Processing 3, 27 (Da-

                                    7    Wen Sun ed., 2005). Although the plaintiffs did not include this conclusion (or the other

                                    8    quotations from the articles cited in this order) in their complaint, the parties agreed at the hearing

                                    9    that the plaintiffs have incorporated by reference the entire text of the articles they quote in their

                                   10    complaint.

                                   11            The plaintiffs argued at the hearing that the articles they cite do not in fact support this

                                   12    conclusion. To the contrary, both articles repeatedly make the point that pressurization has less
Northern District of California
 United States District Court




                                   13    impact on nutritional value than pasteurization. See, e.g., id. at 19 (noting that pressurization

                                   14    "maintains the quality of fresh foods, with few direct effects on flavor and little effect on

                                   15    nutritional quality"); id. at 26 ("A clear advantage of pressure treatment is . . . the stability of small

                                   16    molecules, such as nutrients."); Margaret F. Patterson et al., Introduction to High Pressure

                                   17    Processing of Foods, in Emerging Technologies for Food Processing 1, 9 (Christopher J. Doona et

                                   18    al. eds., 2007) (explaining that foods treated with pressurization "retain more of their original fresh

                                   19    taste, texture, and nutritional content such that these products are often superior in quality

                                   20    compared to their thermal processing counterparts"). The articles the plaintiffs cite thus contradict

                                   21    the allegation upon which their entire complaint hinges—namely, that pressure treatment deprives

                                   22    juice of nutritional value to a similar degree as pasteurization. Courts "need not accept as true

                                   23    allegations contradicting documents that are referenced in the complaint." Lazy Y Ranch LTD v.

                                   24    Behrens, 546 F.3d 580, 588 (9th Cir. 2008). "A plaintiff can plead himself out of court by alleging

                                   25    facts which show that he has no claim, even though he was not required to allege those facts." See

                                   26    Sprewell v. Golden State Warriors, 266 F.3d 979, 988-989 (9th Cir. 2001) (internal quotation

                                   27    marks omitted).

                                   28              Accordingly, the complaint is dismissed with prejudice.
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                                  Case 1:16-cv-07176-ILG-PK
                                             Case 3:13-cv-05595-VC
                                                             Document
                                                                   Document
                                                                      52-9 Filed
                                                                            74 11/02/18
                                                                                 Filed 07/03/14
                                                                                            Page Page
                                                                                                 11 of 3
                                                                                                       12ofPageID
                                                                                                            3     #: 880




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                                    2           IT IS SO ORDERED.

                                    3    Dated: July 2, 2014

                                    4                                            ______________________________________
                                                                                 VINCE CHHABRIA
                                    5                                            United States District Judge
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Northern District of California
 United States District Court




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Case 1:16-cv-07176-ILG-PK Document 52-9 Filed 11/02/18 Page 12 of 12 PageID #: 881
